Case 2:23-bk-16327-BB   Doc 1 Filed 09/28/23 Entered 09/28/23 12:55:05   Desc
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Case 2:23-bk-16327-BB   Doc 1 Filed 09/28/23 Entered 09/28/23 12:55:05   Desc
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Case 2:23-bk-16327-BB   Doc 1 Filed 09/28/23 Entered 09/28/23 12:55:05   Desc
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Case 2:23-bk-16327-BB   Doc 1 Filed 09/28/23 Entered 09/28/23 12:55:05   Desc
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Case 2:23-bk-16327-BB   Doc 1 Filed 09/28/23 Entered 09/28/23 12:55:05   Desc
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Case 2:23-bk-16327-BB   Doc 1 Filed 09/28/23 Entered 09/28/23 12:55:05   Desc
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Case 2:23-bk-16327-BB   Doc 1 Filed 09/28/23 Entered 09/28/23 12:55:05   Desc
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Case 2:23-bk-16327-BB   Doc 1 Filed 09/28/23 Entered 09/28/23 12:55:05   Desc
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